                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF
                                     PENNSYLVANIA

 DANIEL HUBERT, individually and on              :    Civil Action No. 2:15-cv-01391-MRH
 behalf of all others similarly situated,        :
                                                 :
                        Plaintiff,               :
                                                 :
        v.                                       :
                                                 :    This Document Relates
 GENERAL NUTRITION                               :    All Actions
 CORPORATION,                                    :
                                                 :
                        Defendant.               :
                                                 :
 (In re: GNC Picamilon/BMPEA Litigation)         :

                 PLAINTIFFS’ MOTION FOR EXTENSION OF TIME TO
               FILE RESPONSE TO DEFENDANT’S MOTION TO DISMISS
                         SECOND AMENDED COMPLAINT

       Plaintiffs respectfully request an extension of time to file a responsive brief until

November 10, 2017. Plaintiffs made a calendaring error and had believed the brief to be due on

that date, until receiving notification from the Clerk of Court today. A proposed Order is attached.

Dated: November 8, 2017                         Respectfully submitted,

                                                /s/ Arthur Stock
                                                Shanon J. Carson, Esquire (Pa. ID No. 85957)
                                                Arthur Stock, Esquire (Pa. ID No. 64336)
                                                Berger & Montague, P.C.
                                                1622 Locust Street
                                                Philadelphia, PA 19103
                                                Telephone: (215)875-4656
                                                Facsimile: (215) 875-4604
                                                scarson@bm. net
                                                astock@bm.net
Gary E. Mason, Esquire
Benjamin Branda, Esquire
Whitfield Bryson & Mason, LLP
5101 Wisconsin Avenue, NW, Ste. 305
Washington, DC 20016
Telephone: (202) 429-2290
Facsimile: (202) 429-2294
gmason@wbmllp.com
bbranda@wbmllp.com

Co-Lead Counsel




2
                            CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been

electronically filed with the Clerk of the Court by using the CM/ECF system, which will send

notice of electronic filing to the CM/ECF participants on this 8th day of November 2017.



                                            /s/ Arthur Stock
                                            Shanon J. Carson (Pa. ID No. 85957)
                                            Arthur Stock (Pa. ID No. 64336)
                                            Berger & Montague, P.C.
                                            1622 Locust Street
                                            Philadelphia, PA 19103
                                            Telephone: (215)875-4656
                                            Facsimile: (215) 875-4604
                                            scarson@bm.net
                                            astock@bm.net
